           Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0131V
                                          UNPUBLISHED


    JULIA CONROY,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: October 26, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On February 5, 2020, Julia Conroy filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (‘SIRVA”) as a result of an influenza (“flu”) vaccine that was administered
to her on September 28, 2018. Petition at 1; Stipulation, filed on October 26, 2021, at ¶¶
2, 4. Petitioner further alleges that she received the vaccine in the United States, that she
has experienced the residual effects of her injury for more than six months, and that there
has been no prior award or settlement of a civil action for damages as a result of her
alleged condition. Petition at 1, 3; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner
sustained a SIRVA Table injury, and denies that petitioner’s alleged shoulder injury and
its residual effects were caused-in-fact by her flu vaccine. Respondent further denies that
the flu vaccine caused petitioner any other injury or her current condition.” Stipulation at
¶ 6.
1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 2 of 7




       Nevertheless, on October 26, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $25,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                    2
        Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 3 of 7




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS

 JULIA CONROY,

                        Petitioner,

       V.                                                No. 20-131V
                                                         Chief Special Master Corcoran (SPU)
 SECRETARY OF HEALTH AND                                 ECF
 HUMAN SERVICES,

                        Respondent.

                                            STIPULATION

The parties hereby stipulate to the following matters:

       1. Petitioner Julia Conroy ("petitioner") filed a petition for vaccine compensation under

the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3(a).

       2. Petitioner received a flu vaccine on September 28, 2018.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a shoulder injury related to vaccine administration

("SIRVA") within the time period set forth in the Table and that her alleged shoulder condition is

actually caused by the vaccine. Petitioner further alleges that she experienced the residual

effects of her injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
            Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 4 of 7




        6. Respondent denies that petitioner sustained a SIRVA Table injury, and denies that

petitioner's alleged shoulder injury and its residual effects were caused-in-fact by her flu

vaccine. Respondent further denies that the flu vaccine caused petitioner any other injury or her

current condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

                A lump sum of $25,000.00 in the form of a check payable to
                petitioner. This amount represents compensation for all damages
                that would be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l(a)(l ), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.



                                                  2
        Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 5 of 7




        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on September 28, 2018,

as alleged by petitioner in her petition for vaccine compensation filed on February 5, 2020, in the

United States Court of Federal Claims as petition No. 20-131 V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




                                                     3
        Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 6 of 7




        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the influenza vaccination caused petitioner to

suffer a shoulder injury or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION
I
I
I
I
I
I
I
I
I
I
I


                                                  4
                                             Case 1:20-vv-00131-UNJ Document 34 Filed 12/01/21 Page 7 of 7




                                       Respectfully submitted,


                                       PETITIONER:




                                       ATIORNEYOFRECORDFOR                                                                                                AUTHORIZED REPRESENTATIVE
                                       PETITIONER:                                                                                                        OF THE ATTORNEY GENERAL:




                               ~I~     715 Twining Road, Suite 208
                                       Dresher, PA 19025
                                                                                                                                                          ~~.(~
                                                                                                                                                         HEATHER L. PEARLMAN
                                                                                                                                                         Deputy Director
                                                                                                                                                         Torts Branch, Civil Division
                                                                                                                                                         U.S. Department of Justice
                                       Tel: (215) 885-1655                                                                                               P.O. Box 146
                                       Email: leigh@mullerbrazil.com                                                                                     Benjamin Franklin Station
                                                                                                                                                         Washington, DC 20044-0146




                                       AUTHORIZED REPRESENTATIVE                                                                                         ATTORNEY OF RECORD FOR



                                                                                                                                                                                       -
                                       OFTHESECRETARYOFHEALffl                                                                                           RESPONDENT:
                                       AND HUMAN SERVICES:

                                                                                                                                                          A-~ct l.e.d:L(
                                      z:;td4, ~ ,                                o,s!Sc.-, A/>M,tf~                                                        b".4 cle.~    L Q--<'~
                                      TAMARA OVERBY                                                                                                      ADRIANA TEITEL
                                      Acting Director, Division of Injury                                                                                Trial Attorney
                                          Compensation Programs                                                                                          Torts Branch, Civil Division
                                      Health Systems Bureau                                                                                              U.S. Department of Justice
                                      Health Resources and Services                                                                                      P.O. Box 146
                                          Administration                                                                                                 Benjamin Franklin Station
                                      U.S. Department of Health                                                                                          Washington, DC 20044-0146
                                         and Human Services                                                                                              Tel: (202) 616-3677
                                      600 Fishers Lane, 08-N146B                                                                                         Email: adriana.teitel@usdoj.gov
                                      Rockville, MD 20857




                                      Dated:        lD JUo~7
                                                         •
                                                             /
                                                                                                                                   5



-:-:"r"~ ...........   t.~-~~-----lAA,,...i,......,,,.,......
                                                        ,.:,ra.......(.,. .,t-, . ,4.S. , , :Pi.J!a.,. ., ., ,.,-,it.,. >..
                                                                                                                         . ,...,,(.;-,...,,• o~< ......,,,..,._......,..,.,....,,,,t....,,,,.,,...,,;.~.:=•,,_,.,_,,. . - . . ~ • - - - - - - - -
